                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

   CYNTHIA B. SCOTT, et al.,         )
                                     )
                       Plaintiffs,   )
                                     )       Case No. 3:12-cv-00036-NKM/JCH
         v.                          )       Sr. Judge Norman K. Moon
                                     )
   HAROLD W. CLARKE, et al.,         )
                                     )
                       Defendants.   )
                                     )

          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ PETITION
       FOR AWARD OF ENFORCEMENT PHASE ATTORNEYS’ FEES AND COSTS




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            Plaintiffs, Cynthia B. Scott, et al., by their attorneys, hereby submit their Memorandum

   of Law in Support of their Petition for an Award of Enforcement Phase Attorneys’ Fees and

   Costs.

                                            INTRODUCTION

            A.     THE LITIGATION

            The Plaintiffs, prisoners residing at the Fluvanna Correctional Center for Women

   (FCCW), a facility of the Virginia Department of Corrections (VDOC), initiated this class-action

   lawsuit on July 24, 2012, pursuant to the Eighth Amendment to the Constitution of the United

   States and 42 U.S.C. § 1983, seeking declaratory and injunctive relief with respect to alleged

   constitutionally-deficient medical care afforded to themselves and all other women residing at

   FCCW reflecting deliberate indifference on the part of the VDOC Defendants to the Plaintiffs’

   serious medical needs. The VDOC Defendants have consistently denied liability for the alleged

   constitutional violations.

            By Memorandum Opinion and Order dated November 20, 2014, the Court granted the

   Plaintiffs’ Motion for Class Certification and certified a class consisting of “all women who

   currently reside or will in the future reside at FCCW and have sought, are currently seeking or

   will seek adequate, appropriate medical care for serious medical needs, as contemplated by the

   Eighth Amendment to the U.S. Constitution,” pursuant to Fed. R. Civ. P. 23(b)(2). See ECF

   Docket No. 188. Thereafter, the Court entered an Order granting Partial Summary Judgment in

   favor of the Plaintiffs and denying the VDOC Defendants’ Motion for Summary Judgment in its

   entirety on November 25, 2014, holding, inter alia, that:

            1.     the Plaintiffs established, as a matter of law, that they fully and properly
                   exhausted all pre-litigation administrative remedies available to them, as
                   required by applicable provisions of the Prison Litigation Reform Act
                   (PLRA), 42 U.S.C. § 1997e (see Memorandum Opinion dated
                   November 25, 2014, at 23-33 & nn.8-10 (ECF Dkt. No. 201));



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          2.      the Plaintiffs established, as a matter of law, that individually and as a
                  class, they suffer from “serious medical needs” as a predicate to a viable
                  cause of action for “deliberate indifference” under the Eighth Amendment
                  (Id. at 13-18 & n.7);

          3.      the Plaintiffs established, as a matter of law, that the VDOC Defendants
                  have a non-delegable duty under the Eighth Amendment to provide
                  constitutionally-adequate medical care to all prisoners within their
                  custody, including the Plaintiffs (Id. at 8-13); and that

          4.      the VDOC Defendants failed, as a matter of law, to demonstrate on the
                  basis of material facts as to which there is no genuine issue in dispute, that
                  they could not be found liable for providing insufficient medical care, or
                  failing to provide medical care under circumstances in which such care
                  was due, reflecting “deliberate indifference” to the Plaintiffs’ and the class
                  members’ serious medical needs in violation of the Eighth Amendment
                  (Id. at 33-46).

          B.      THE SETTLEMENT AGREEMENT

          With this Court’s imminent rulings granting class certification and the Plaintiffs’ Motion

   for Partial Summary Judgment and denying the Defendants’ Motion for Summary Judgment, and

   a December 1, 2014 trial date looming, the parties conducted settlement negotiations. Those

   negotiations culminated in their execution of a Memorandum of Understanding which set forth

   agreed-upon terms for a comprehensive resolution of this case. Thereafter, the parties’

   respective counsel, medical consultants and representatives engaged in extensive

   communications, further negotiations and other activities focused upon implementation and

   performance of the various measures described in the Memorandum of Understanding as

   required in order to achieve the terms of the comprehensive Settlement Agreement to which they

   had agreed in principle. Upon their completion of this process, the Plaintiffs, subject to the

   Defendants’ express consent, presented the Settlement Agreement to this Court for its

   preliminary approval on September 15, 2015. See ECF Dkt. Nos. 220, 221 & Exhibit 1thereto.

          Under the final terms and conditions of the Settlement Agreement, the Defendants

   undertook or agreed to undertake a host of measures that were designed to insure that the


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   medical care afforded to the Plaintiffs and other Class members residing at FCCW would meet

   or exceed constitutional standards under the Eighth Amendment by, inter alia:

            the adoption and implementation of revisions to existing VDOC Operating
             Procedures governing or relating to the provision of medical care at FCCW in
             order to enhance the quality and quantity of care;

            their commitment to adhere to specific Guidelines and Standards beyond the
             VDOC Operating Procedures, as set forth in the Settlement Agreement, in order
             to maximize the prospects for provision of a constitutionally-adequate level of
             medical care at FCCW;

            their commitment to work cooperatively with the Plaintiffs’ counsel and the
             parties’ medical consultants on the development of new Operating Procedures
             designed to assure the VDOC’s fulfillment of its legal obligations to women with
             disabilities under the Americans With Disabilities Act and to provide the VDOC
             with a basis for self-evaluation of its own performance in providing medical care
             at FCCW on an on-going basis in accordance with well-established Continuous
             Quality Improvement principles; and

            their commitment to submit the quality and quantity of the medical care provided
             at FCCW to the critical oversight of a Compliance Monitor agreed upon by the
             parties, who would develop Performance Measuring Tools to be utilized in
             conducting his periodic evaluations, subject to the continuing supervisory
             jurisdiction and sanctioning authority of this Court for any persisting or new
             constitutional violations.

             In addition to the foregoing, the Defendants agreed that the Plaintiffs were “prevailing

   parties” in this litigation, in light of the terms of the Settlement Agreement reached, and that, as

   such, the Plaintiffs were entitled to the recovery of the reasonable attorneys’ fees and litigation

   costs they had incurred, pursuant to 42 U.S.C. § 1988. See ECF Dkt. No. 221-1, Sec. VII at

   26-27.1




   1 The Plaintiffs submitted their Petition for Award of Attorneys’ Fees and Litigation Costs
   Pursuant to 42 U.S.C. § 1988 and supporting documentation on October 19, 2015, requesting a
   fee award in the amount of $2,063,198.82 and costs in the amount of $58,674.13. See ECF Dkt.
   Nos. 226, 227. Thereafter, the Parties reached a negotiated compromise pursuant to which
   Plaintiffs were awarded $1.5 million in attorneys’ fees and costs as reflected in the Court’s
   subsequent Final Judgment Order. See ECF Dkt. No. 262, ¶ 2 at 2.


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        Following the Court’s entry of an order granting preliminary approval (ECF Dkt. No.

 222), notice to the class and an appropriate period for the filing of comments and/or objections,

 the Court held a Fairness Hearing on November 9, 2015 and heard testimony from four of the

 Named Plaintiffs, the Compliance Monitor and a few objectors, as well as argument by

 Plaintiffs’ counsel. Thereafter, on February 5, 2016, the Court issued its Findings of Fact and

 Conclusions of Law setting forth the basis of its determination to approve the Settlement

 Agreement, as well as a final Order approving the Agreement and retaining jurisdiction to

 oversee, as necessary or appropriate, the enforcement of its terms and conditions. ECF Dkt. Nos.

 261, 262.

        C.      THE ENFORCEMENT PHASE

        For many months after the parties’ Settlement Agreement was formally approved by this

 Court and entered as a Consent Order, the Compliance Monitor designated by the Order –

 Nicholas Scharff, M.D. – rendered Reports reflecting findings focused on the host of ways in

 which the VDOC and FCCW were failing to comply, or even make meaningful progress towards

 compliance, with many of the critical requirements for meeting the standard for constitutionally-

 adequate medical care addressed in the Settlement Agreement. See generally Memorandum of

 Law in Support of Plaintiffs’ Motion for Order to Show Cause at 5-13 (summarizing Dr.

 Scharff’s Reports and findings set forth therein) & Exhibits 4-8 thereto (ECF Dkt. No. 266).

        Gravely disappointed by the VDOC’s lack of significant progress towards the objectives

 of the Settlement Agreement and confronted, on a day-to-day basis, by the substantial risk of

 harm attributable to FCCW’s continuing lack of responsiveness to their serious medical needs,

 the Plaintiffs, by counsel, served the VDOC with a Notice Letter on April 20, 2017, pursuant to

 Section V.2. of the Agreement. See ECF Dkt. No. 266, Exh. 2. Drawing upon the first-hand

 accounts of class members continuing to experience substandard care of an ongoing and harmful


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 nature, as well as Dr. Scharff’s reported findings, the Plaintiffs demanded immediate remedial

 efforts from VDOC, suggesting concrete courses of action that the VDOC and its contractor

 might adopt, where possible, to address the problems highlighted.

         The VDOC, by counsel, provided its response to the Plaintiffs’ Notice Letter on May 22,

 2017 (ECF Dkt. No. 266, Exh. 9), flatly rejecting the core premise of the Plaintiffs’ submission

 and unreservedly declaring that “FCCW is not in breach of the settlement agreement with [regard

 to] any of the provisions you cite.” Id. at 10. This unequivocal refusal on the part of the VDOC

 to acknowledge any continuing deficiencies in the quality of the medical care provided at

 FCCW, or to meet with Plaintiffs’ representatives to discuss working cooperatively on possible

 solutions, left the Plaintiffs with no viable alternative to the preparation and filing of their Show

 Cause Motion.

         By filing dated October 10, 2017, the VDOC opposed the Show Cause Motion and

 requested that it be dismissed with prejudice. ECF Dkt. Nos. 285, 286. However, as

 demonstrated in the Plaintiffs’ Reply submission, filed October 31, 2017 (ECF Dkt. No. 293),

 the VDOC Opposition failed to identify any viable basis for such dismissal and this Court, sub

 silentio, denied the requested relief.

         Following the completion of briefing on the Plaintiffs’ Motion and the establishment of a

 procedural schedule culminating in a June 11, 2018 trial date, the Court conducted a Status

 Conference by telephone on January 29, 2018, at which time it advised the Parties that the

 threshold question of whether a Show Cause Order should issue would be addressed and

 resolved at trial before proceeding, as necessary, to the Plaintiffs’ contempt claim on its merits.

 Thereafter, the Parties engaged in extensive document and deposition discovery, significant

 discovery-related motions practice, and an unsuccessful mediation before appearing before the




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 Court for a bench trial conducted from June 11 through June 15, 2018. At the close of the

 evidence, the Court requested post-trial briefing, which the Parties completed by late August

 2018.

         D.      THE COURT’S DECISION

         After due deliberations following the completion of the Parties’ post-trial briefing, this

 Court issued its Findings of Fact and Conclusions of Law, accompanied by an Order mandating

 the implementation of certain injunctive relief, on January 2, 2019. See ECF Dkt. Nos. 544, 545.

         Invoking a strict interpretation of the provisions of Fed. R. Civ. P. 65(d)(1)(C), dictated

 in its view by controlling Fourth Circuit precedent, the Court declined to enter the contempt

 finding against the VDOC Defendants that Plaintiffs sought. See ECF Dkt. 544 at 27-29.

 However, recognizing “[t]hat the Court cannot enforce the Settlement Agreement through

 contempt does not mean the Court cannot enforce it at all” (id. at 29), this Court exercised its

 jurisdiction to “consider whether the Settlement Agreement has been violated ” in light of its

 application of “standard contract principles.” Id. at 29-30 (citations and footnote omitted). The

 Court answered this inquiry in the affirmative, stating at the outset of its detailed analysis as

 follows:

         In addition to other discrete requirements, the Settlement Agreement sets out
         twenty-two standards governing FCCW. (Dkt. 222-1 at 8-15). The Court
         concludes that the Defendants are in violation of eight of them. Indeed, the record
         shows that VDOC’s and FCCW’s own officials, had – by their own admission –
         actual knowledge that FCCW was not complying with parts of the Settlement
         Agreement. (See, e.g., supra, FF ¶¶ 2, 8-12, 116).

 Id. at 33 (emphasis in original).

         Supporting this preliminary assessment, the Court proceeded to set forth its specific

 findings and conclusions concerning the VDOC’s breach of the obligations it assumed under the

 Settlement Agreement with respect to:



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        establishing and maintaining sufficient medical staff at FCCW;

        providing appropriate and timely responses to medical emergencies and well-maintained
        and readily available emergency medical supplies and equipment;

        providing durable medical equipment in appropriate working order, available for daily
        use as necessary;

        conducting and memorializing self-critical analysis in connection with mortality reviews;

        establishing safe, consistent, reliable practices concerning medication administration,
        including timely reordering, maintenance and dispensation of prescription medications;

        provision of unimpeded access to timely medical care;

        provision and maintenance of a meaningful, appropriately responsive Sick Call process;
        and

        provision and maintenance of a meaningful, appropriately responsive Medical Grievance
        process.

 Id. at 33-41 & nn. 19-20. In the course of setting forth its analysis regarding each of these areas

 in which the Settlement Agreement was violated due to the VDOC’s wrongful acts or omissions,

 the Court addressed and rejected a host of excuses and rationalizations proffered by the VDOC

 Defendants to justify their non-compliance as factually unsupported, legally immaterial, or both.

 Id.; see also id. at 42-50 & nn. 21-27 (addressing and rejecting, seriatim, the VDOC Defendants’

 contentions that Plaintiffs’ charges of non-compliance were premature; that the standards of

 compliance established by the Settlement Agreement are “unenforceably subjective”; and that

 the VDOC Defendants acted in “good faith” and achieved “substantial compliance” with the

 Settlement Agreement’s terms and conditions).




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        In sum, this Court concluded that “Defendants have upheld neither their Eighth

 Amendment obligations nor the Settlement Agreement they reached to effectuate those

 obligations.” Id. at 51.2

                                  GOVERNING LEGAL STANDARDS

        Section V.2 of the Parties’ Settlement Agreement provides, in pertinent part, as follows:

        In the event that a problem of constitutionally-deficient medical care on the part
        of the Defendant, and brought to the Defendant’s attention by the Compliance
        Monitor or the Plaintiffs’ counsel pursuant to the provisions of Section IV.2.c. of
        this Settlement Agreement, has not been cured or otherwise resolved to the
        satisfaction of the Plaintiffs or the Compliance Monitor upon expiration of the 30-
        day period following the provision of such notice to the Defendant, the Plaintiffs
        . . . may initiate proceedings before the Court seeking specific performance of the
        terms of this Settlement Agreement, contempt sanctions against the Defendant, or
        both . . . In the event the Plaintiffs prevail in the prosecution of such enforcement
        action, they may petition the Court for an award of their reasonable costs and
        attorneys’ fees incurred in bringing the action.

 See ECF Dkt. No. 221-1 at 23-24 (emphasis added).

        In actions such as the instant case, arising under Section 1983, a plaintiff “prevails” when

 “actual relief on the merits of [her] claim materially alters the legal relationship between the

 parties by modifying the defendant’s behavior in a way that directly benefits the plaintiff.”

 Mercer v. Duke University, 401 F.3d 199, 203 (4th Cir. 2005), citing Farrar v. Hobby, 506 U.S.

 103, 111-12 (1992); see generally Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (“A typical



 2 With respect to the specific items of relief set forth in this Court’s accompanying Injunction
 Order, the Court observed that “the parties, and the compliance monitor have expertise that the
 Court necessarily lacks. The parties may thus seek reconsideration of the relief tailored by the
 Court within the period provided by Fed. R. Civ. P. 59(e).” Id. at 51. Plaintiffs and Defendants
 both availed themselves of the Court’s invitation in this regard. See generally Plaintiffs’ Motion
 to Alter or Amend Judgment Pursuant to Fed. R. Civ. P. 59(e) (ECF Dkt. No. 554); Defendants’
 Motion Pursuant to Rule 59(e) (ECF Dkt. No. 556). On May 22, 2019, this Court issued its
 ruling granting these Motions in part and denying them in part. See Memorandum Opinion and
 Additional Findings of Fact and Conclusions of Law (ECF Dkt. No. 573). For purposes of the
 instant Attorneys’ Fees Petition, the Court’s May 22 ruling did not alter the status quo resulting
 from its earlier January 2 decision in any respect material to Plaintiffs’ “prevailing party” status.


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 formulation is that ‘plaintiffs may be considered “prevailing parties” if they succeed on any

 significant issue in litigation which achieves some of the benefit [they] sought in bringing suit.’”

 (Citation omitted.)); accord Alexander S. v. Boyd, 113 F.3d 1373, 1389-90 (4th Cir. 1997). This

 principle encompasses a party’s success in the context of post-judgment litigation brought in

 order to “preserve the fruits” of a prior favorable judgment. See Plyer v. Evatt, 902 F.2d 273,

 281 (4th Cir. 1990).

          Plaintiffs respectfully submit that it is clear from the substance of this Court’s Findings of

 Fact and Conclusions of Law and the Injunction Order it entered in conjunction therewith,

 requiring the Defendants to undertake affirmative measures to bring themselves into conformity

 with the obligations they accepted but failed to fulfill under the Settlement Agreement, that the

 Plaintiffs, notwithstanding the denial of a contempt finding, have prevailed in the enforcement

 action that they initiated. See Injunction, ¶ 1 at 1 (“The Court has jurisdiction to enforce the

 terms of the parties’ Agreement to provide for constitutionally adequate medical care, and the

 Defendants are in violation of those terms.”) (ECF Dkt. No. 545).

          Accordingly, per the applicable provision of the Settlement Agreement, the Plaintiffs are

 entitled to an award of their reasonable attorneys’ fees and costs incurred in the Enforcement

 Phase of this action, as quantified on the basis of the application of the standards addressed

 below.

                                             ARGUMENT

 I.       THE DETERMINATION OF A REASONABLE FEE IS GOVERNED BY
          APPLICATION OF THE LODESTAR ANALYSIS

          In Hensley, the Supreme Court declared that “[t]he most useful starting point in

 determining the amount of a reasonable fee is the number of hours reasonably expended on the

 litigation multiplied by a reasonable hourly rate. This calculation provides an objective basis on



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 which to make an initial estimate of the value of the lawyer’s services.” 461 U.S. at 433; see

 also Blum v. Stenson, 464 U.S. 886, 888 (1984) (“The initial estimate of a reasonable attorney’s

 fee is properly calculated by multiplying the number of hours reasonably expended . . . times a

 reasonable hourly rate. Adjustments to that fee then may be made as necessary in the particular

 case.” (Citation omitted.)).

        Following Hensley and Blum, the Fourth Circuit has repeatedly applied this lodestar

 methodology in reviewing the reasonableness of fee awards entered by district courts in a host of

 cases brought pursuant to federal statutes, such as Section 1988, expressly providing that a

 prevailing party may be awarded the fees its counsel reasonably incurred in successfully

 representing that party’s interests in the subject litigation. See, e.g., Lefemine v. Wideman, 758

 F.3d 551, 559 n.4 (4th Cir. 2014); see McAfee v. Boczar, 738 F.3d 81, 88 (4th Cir. 2013);

 Eastern Assoc. Coal Corp. v. Director, OWCP, 724 F.3d 561, 569-70 (4th Cir. 2013); Newport

 News Shipbuilding and Dry Dock Co. v. Holiday, 591 F.3d 219, 226-27 (4th Cir. 2009);

 Robinson v. Equifax Information Servs., LLC, 560 F.3d 235, 243-44 (4th Cir. 2009); Grissom v.

 The Mills Corp., 549 F.3d 313, 320-21 (4th Cir. 2008); Mercer, 401 F.3d at 209; Rum Creek

 Coal Sales, Inc. v. Caperton, 31 F.3d 169, 174-75 (4th Cir. 1994). The same methodology has

 been applied by courts in the Fourth Circuit in cases involving purely private contractual disputes

 wherein the contract in question contains a free-shifting provision. See, e.g., Crossroads Equity

 Partners, LLC v. Dogmatic Products, Inc., Case No. 3:11-cv-00069, 2014 U.S. Dist. LEXIS

 99338, at *4-6 (W.D. Va. July 22, 2014) (Conrad, J.); Three Rivers Landing of Gulfport, LP v.

 Three Rivers Landing, LLC, Case no. 7:11-cv-00025, 2014 U.S. Dist. LEXIS 55871, at *4-8




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 (W.D. Va. April 21, 2014) (Turk, Sr. J.); Vienna Metro LLC v. Putte Home Corp., Case No.

 1:10-cv-00502, 2011 U.S. Dist. LEXIS 158648, at *7-8 (E.D. Va. Aug, 24, 2011).3

        As a guide to aid the lower courts in performing the lodestar analysis to determine the

 measure of reasonable attorneys’ fees in those cases in which they may be awarded, the Fourth

 Circuit has instructed district judges to consider the following twelve factors originally identified

 in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974):

        (1) the time and labor expended; (2) the novelty and difficulty of the questions
        raised; (3) the skill required to properly perform the legal services rendered; (4)
        the attorney’s opportunity costs in pressing the instant litigation; (5) the
        customary fee for like work; (6) the attorney’s expectations at the outset of the
        litigation; (7) the time limitations imposed by the client or circumstances; (8) the
        amount in controversy and the results obtained; (9) the experience, reputation and
        ability of the attorney; (10) the undesirability of the case within the legal
        community in which the suit arose; (11) the nature and length of the professional
        relationship between attorney and client; and (12) attorneys’ fees awards in
        similar cases.

 Robinson, 560 F.3d at 243-44, citing Barber v. Kimbrell’s, Inc., 577 F.2d 216, 226 n.28 (4th Cir.

 1978); see also Grissom, 549 F.3d at 320-21 (“Here, the parties agree that in calculating an

 appropriate attorneys’ fee award, a district court must first determine the lodestar amount

 (reasonable hourly rate multiplied by hours reasonably expended), applying the Johnson/Barber

 factors when making its lodestar determination.” (Citations omitted.)). 4



 3A “nearly identical” mode of analysis would apply if the award of attorneys’ fees in a contract
 action were subject to determination under Virginia law. Three Rivers Landing, 2014 U.S. Dist.
 LEXIS 55871, at 7 & n.3 (citing Virginia authorities).
 4 To the extent that any particular Johnson factor is taken into account in determining and/or
 effectively duplicates either of the core lodestar elements (e.g., the “hours reasonably expended”
 component of the lodestar formula is essentially the same as the first Johnson factor – “the time
 and labor expended” – and likewise implicates Johnson factor No. 2 – “the novelty and difficulty
 of the questions raised”), those Johnson factors are not to be “double counted” by using them as
 a basis for further adjustments to the lodestar amount, once it has been determined. See Perdue
 v. Kenny A. ex rel. Winn, 559 U.S. 542, 553 (2010); McAfee, 738 F.3d at 89; Eastern Assoc.
 Coal, 724 F.3d at 570 & n.5.


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        Once it is determined that the hours incurred and the hourly rate requested by the

 prevailing party’s attorneys are reasonable, the Court “is obligated to subtract fees for hours

 spent on unsuccessful claims unrelated to the successful ones.” McAfee, 738 F.3d at 91, citing

 Grissom, 549 F.3d at 321 (“The parties agree that after calculating the lodestar figure, the ‘court

 then should subtract fees for hours spent on unsuccessful claims unrelated to successful ones.’”

 (quoting Johnson v. City of Aiken, 278 F.3d 333, 337 (4th Cir. 2002)). And finally, after

 deductions for fees associated with unsuccessful and unrelated claims, the Court then awards all

 or a percentage of the remaining lodestar amount, depending on the degree of success enjoyed by

 the prevailing party. Id.

        Accordingly, based on the foregoing authorities, this Court’s task in determining the

 reasonable attorneys’ fees the Plaintiffs should be awarded turns on performance of the

 following analytical steps:

        (i)     evaluation of the hourly rates claimed by Plaintiffs in light of the prevailing
                market rate in the relevant geographic jurisdiction for legal services of the type
                performed by counsel on Plaintiffs’ behalf, including consideration of any
                pertinent Johnson factors, to determine the reasonable hourly rate to be utilized in
                the lodestar calculation;

        (ii)    evaluation of the time charges claimed by Plaintiffs in light of the nature and
                extent of the tasks performed, including consideration of any pertinent Johnson
                factors, to determine the number of hours reasonably expended;

        (iii)   performance of the lodestar calculation;

        (iv)    deduction from the lodestar amount of any fees specifically attributable to hours
                devoted to unsuccessful claims distinct from the successful ones; and

        (v)     determination of whether any other adjustments are necessary or appropriate
                under the particular circumstances of the case in light of the overall level of
                success the prevailing party achieved.

        Subject to acknowledgment of one preliminary consideration, the Plaintiffs address each

 of these steps below.



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                A.      THE CAPPED RATE ON RECOVERABLE FEES IMPOSED BY
                        THE PLRA IS $220.50/HR. FOR ATTORNEYS, WITH LESSER
                        RATES FOR COMPENSABLE NON-LAWYER SUPPORT

        As a threshold matter due to the fact that this case involves claims implicating prisoners’

 conditions of confinement, under the provisions of the Prison Litigation Reform Act (“PLRA”),

 the Court must undertake a three-step process in order to determine the hourly rate to utilize for

 purposes of its lodestar calculations to arrive at an appropriate fee award. See 42 U.S.C. §

 1997e(d)(3). First, the Court must refer to the “rate established” by the Criminal Justice Act, 18

 U.S.C. § 3006A (CJA), “for payment of court-appointed counsel” under the provisions of that

 statute as adjusted periodically by the U.S. Judicial Conference. Then the Court must identify an

 amount constituting 150% of the applicable CJA rate to derive the maximum rate allowable

 under the PLRA. Finally, the Court must then compare the PLRA-capped rate against the hourly

 rate reasonably recoverable by the prevailing party’s attorneys in the absence of the PLRA’s

 limitation in order to determine whether the PLRA rate or some lesser rate should apply. See

 Alexander S., 113 F.3d at 1388 (describing methodology).

        The maximum hourly rate established by the Judicial Conference for the time period

 during which the Enforcement Phase has been actively contested is $147.00. See Admin. Office

 of the U.S. Courts, The Judiciary FY2018 Congressional Budget Summary at 37 (Rev. June

 2017) (“the maximum [CJA] rate authorized in statute is $147 per hour”). Thus, under the

 PLRA, this Court’s award of fees to Plaintiffs as the prevailing parties for purposes of its

 lodestar analysis may not exceed 150% of $147.00, the maximum statutory rate established by

 the CJA, or $220.50 per hour.5 By comparison, the Declarations submitted in support of the


 5Utilizing the same calculation methodology when the Plaintiffs sought a fee award in
 connection with the proceedings in which the Parties’ Settlement Agreement was approved, this
 was $211.50. See ECF Dkt. No. 261 at 34.


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 Petition by the attorneys providing representation to the Plaintiffs in this action uniformly

 reference reasonable hourly rates that, in every instance, substantially exceed the PLRA-capped

 rate of $220.50. Accordingly, this Court should apply $220.50 as the hourly rate to be utilized

 for purposes of multiplication by the number of hours reasonably incurred by all of Plaintiffs’

 counsel to determine a reasonable fee award under the governing lodestar analysis. See, e.g.,

 Blake v. Maynard, Case No. 09-cv-2367-AW, 2013 WL 3659421, at *1-2 (D. Md. July 11, 2013)

 (applying then-applicable PLRA-capped maximum hourly rate of $187.50 to all hours accrued

 by plaintiff’s counsel where all of their respective individual hourly rates exceeded the PLRA

 rate).

                 B.      THE HOURS EXPENDED BY PLAINTIFFS’ COUNSEL FOR
                         WHICH AN AWARD IS SOUGHT WERE REASONABLY
                         INCURRED

                         1.      Analysis Of The Perdue/McAfee/Johnson Factors

          Fourth Circuit jurisprudence has been clear and consistent on the point that at the stage at

 which the Court determines the reasonableness of the hours expended by the prevailing party’s

 counsel for which a recovery of fees is requested, the Court must undertake analysis of the

 Johnson factors in assessing the suitability of the time charges at issue to serve as the basis for

 reimbursement. See McAfee, 738 F.3d at 88 (“To ascertain what is reasonable in terms of hours

 expended . . . the court is bound to apply the factors set forth in Johnson v. Georgia Highway

 Express, Inc., 488 F.2d 14, 717-19 (5th Cir. 1974).” (Footnote omitted.)). And, as noted above,

 Johnson factors that are effectively subsumed by the process of determining the hours reasonably

 incurred for which a fee award is sought generally should not be taken into account more than

 once. See supra Arg. Section I at 11 n.3 (citing authorities).

          On this latter point, the Fourth Circuit, in its decision in the McAfee case, based upon an

 analysis of the substance and implications of Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542


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 (2010), endorsed a modified treatment of the Johnson factors articulated by the district court in

 the case before it for review. See 783 F.3d at 89, citing McAfee v. Boczar, 906 F. Supp. 2d 484,

 490-92 (E.D. Va. 2012).

        The district court’s decision in McAfee (Payne, Sr. Dist. Judge) noted that in Perdue, the

 Supreme Court -- in a departure from its prior analysis in Hensley, indicating that the 12-part

 Johnson analysis was a tool to be utilized to inform the lodestar calculation, see 461 U.S. at 434

 n.9 -- presented the Johnson analysis and the lodestar methodology as distinct alternative

 approaches to determining reasonable attorneys’ fees, and expressed its clear preference for the

 lodestar approach, noting that the Johnson approach “gave very little actual guidance to district

 courts. Setting attorney’s fees by reference to sometimes subjective factors placed unlimited

 discretion in trial judges and produced disparate results.” Perdue, 559 U.S. at 551 (citations

 omitted). Based on this analysis, Judge Payne concluded in McAfee that “the necessary

 consequence of Perdue” is that “the Johnson approach ha[s] been relegated to the sidelines in fee

 analysis.” 906 F. Supp. 2d at 491. Elaborating on this concept, the Court stated:

        What then is left of Johnson after Perdue? That question is best answered by
        assessing the individual Johnson factors to determine if they are subsumed in the
        lodestar calculus.

        The reasonableness of the rate implicates, it seems, Factor [3] (the skill required
        to properly perform the legal services rendered); Factor 5 (the customary fee);
        Factor 6 (the attorney’s expectation at the outset of the litigation, i.e., whether the
        fee is fixed or contingent); Factor 9 (the experience, reputation and ability of the
        attorney); and Factor 4 (the attorney’s opportunity cost in pressing the instant
        litigation). In one way or another, those factors play a role in determination of a
        reasonable hourly rate, just as they do in a law firm’s rat[e] setting process. . . .

        The assessment of the number of hours reasonably expended implicates Factor [1]
        (the time and labor expended); Factor [2] (the novelty and difficulty of the
        questions raised); and Factor [7] (the time limitations imposed by the client or the
        circumstances). Each of those factors rather obviously bears on the time that
        reasonably should be devoted to a case.




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         That leaves four Johnson factors: Factor [8] (the amount in controversy and the
         results obtained); Factor [10] (the undesirability of the case within the legal
         community within which the case arose); Factor [11] (the nature and length of the
         professional relationship between the attorney and the client); and Factor [13]
         (attorney’s fees awards in similar cases).

 Id. at 491-92. The Fourth Circuit adopted the district court’s analysis in this regard in its

 entirety. See 738 F.3d at 89 (“Ultimately, pursuant to the court’s lodestar analysis, Perdue

 reserved four Johnson factors for use in adjusting the lodestar fee amount: [Factors 8, 10, 11 and

 12].” (Citation omitted.)).

         Accordingly, in light of McAfee, the impact -- if any -- of Johnson Factors 8, 10, 11 and

 13 will be considered after the reasonableness of the hours expended by Plaintiffs’ counsel is

 addressed, and then multiplied by the applicable PLRA-capped hourly rate, below to arrive at the

 lodestar amount.

                         2.      The Litigation Tasks Performed

         On January 10, 2017, Dr. Scharff, the Compliance Monitor, issued a Report summarizing

 his observations and findings derived from his visit to FCCW in October 2016 – eight months

 after the entry of this Court’s Order approving the Parties’ Settlement Agreement and requiring

 the prompt implementation of its terms and conditions. At the conclusion of the January 10

 Report, Dr. Scharff expressed his serious concerns with and reservations regarding the adequacy

 of the VDOC’s efforts to meet its obligations under the Settlement Agreement, stating, in

 pertinent part, as follows:

         For its part, VA DOC has not yet addressed any of the most troublesome
         problems at FCCW[.] . . . Whether this is institutional inertia or simply lack of
         concern is not clear to me. In either case, VA DOC’s level of performance and
         involvement is not adequate in the setting of so many problems and so much
         patient dissatisfaction, nor is it consistent with its obligations under the Settlement
         Agreement.

 See Scharff Jan. 2017 Rpt. at 20 (ECF Dkt. No. 266, Exh. 6).



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        Despite the fact that, by that time, Plaintiffs’ counsel had already expended hundreds of

 hours since February 2016 monitoring the VDOC’s and its contractor’s performance under the

 terms of the Settlement Agreement and reporting on deficiencies in that performance to

 Dr. Scharff and to FCCW directly on behalf of the Plaintiffs, Plaintiffs’ counsel have utilized the

 January 10, 2017 Compliance Monitor’s Report as a bright-line starting point for measuring the

 attorneys’ fees and costs for which they seek recovery in their instant Petition.

        Thereafter, the sequence of significant tasks undertaken by Plaintiffs’ counsel in their

 efforts to obtain relief from this Court premised upon the VDOC Defendants’ clear failure to

 achieve and maintain a constitutionally-adequate level of medical care at FCCW in accordance

 with the obligations they assumed under the Settlement Agreement includes at least the

 following:

             Investigation, marshalling of evidence, legal research, drafting and
              presentation to the VDOC Defendants on April 20, 2017 of the Plaintiffs’ pre-
              enforcement action Notice Letter pursuant to Section IV.2.c. of the Settlement
              Agreement.

             Ongoing review and analysis of the Compliance Monitor’s periodic Reports,
              including meetings with Dr. Scharff in conjunction with his visits to FCCW,
              reviewing his draft Reports in light of ongoing feedback from Class Members
              regarding their day-to-day experiences with the medical care system at
              FCCW, and preparation and submission of formal comments to Dr. Scharff on
              each draft Report pursuant to Section IV.2.c. of the Settlement Agreement.

             Preparing and filing of the Plaintiffs’ Motion for Order to Show Cause Why
              Defendants Should Not Be Held in Contempt, with Memorandum of Law and
              supporting Declarations and medical record evidence.

             Reviewing the VDOC Defendants’ Opposition to and request for dismissal of
              Plaintiffs’ Motion for Order to Show Cause and preparing and filing of the
              Plaintiffs’ Reply Memorandum.

             Visiting FCCW on a regular basis to interact with Class Members, monitor
              and make note of their concerns, and advocate to Dr. Scharff or to the
              Attorney General’s Office as FCCW’s representatives in pursuit of remedial
              actions to address particular problems with respect to medical care arising
              from time to time.


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           Participating in the full range of discovery activities required to prepare for
            trial in the Enforcement Phase, including, among other things:

               reviewing and responding to the Defendants’ written discovery requests;

               preparing and propounding written discovery requests to the Defendants and
                receiving and reviewing written answers and documents provided in response
                thereto;

               conducting numerous depositions of Defendants’ witnesses pursuant to Rules
                30(b)(1) and 30(b)(6), Fed. R. Civ. P.;

               researching, preparing and filing legal memoranda in support of Plaintiffs’
                discovery motions focused upon deficiencies in Defendants’ discovery responses
                to the extent negotiations to resolve those deficiencies failed;

               researching, preparing and filing legal memoranda in response to Defendants’
                discovery-related motions seeking a variety of procedural remedies to the extent
                negotiations to resolve those requested remedies failed; and

               participating in numerous telephonic hearings conducted by Magistrate Judge
                Hoppe to address and decide the Parties’ various discovery-related and scheduling
                disputes.

       Working with Plaintiffs’ Enforcement Phase expert witnesses on their Reports and
        preparing and defending those experts at depositions conducted by Defendants’ counsel.

       Reviewing and analyzing the Reports submitted by Defendants’ expert witnesses and
        preparing for and conducting depositions of those experts.

       Preparing for and participating in an unsuccessful 18-hour Mediation in an effort to
        resolve the Enforcement Phase a short time before the trial date.

       Researching, drafting and filing of Plaintiffs’ Pre-Trial Brief and analyzing, researching
        and preparing a Response to Defendants’ Motion for Summary Judgment.

       Preparing for and participating in the Pretrial Conference, including presentation of
        argument on all unresolved Motions In Limine and other pretrial motions.

       Preparing for and participating in the five-day bench trial of all claims, defenses and
        issues presented by the Parties for resolution in the Enforcement Phase.

       Conducting an exhaustive review of the trial record and preparation of comprehensive
        Proposed Findings of Fact and Conclusions of Law as well as the Post-Trial Brief on
        Plaintiffs’ behalf.




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       Analyzing, researching and preparing Responses to the Defendants’ Proposed Findings of
        Fact, Conclusions of Law and Post-Trial Brief.

       Reviewing the Court’s January 2, 2019 Findings of Fact, Conclusions of Law and
        Injunction Order, identifying concerns relating thereto and preparing Plaintiffs’ Motion
        pursuant to Rule 59(e), Fed. R. Civ. P.

       Analyzing, researching and preparing Plaintiffs’ Response to the Defendants’ Rule 59(e)
        Motion and Plaintiffs’ Reply to the Defendants’ Response to Plaintiffs’ Motion.

        As reviewed in further detail below, these tasks consumed thousands of hours of time on

 the part of Plaintiffs’ entire litigation team that were, under challenging circumstances,

 reasonably incurred in order to vindicate the Plaintiffs’ critically- important claims that their

 Eighth Amendment right to adequate medical care has yet to be satisfied at FCCW.

                        3.      Plaintiffs’ Counsels’ Time Charges

                                a.      The Legal Aid Justice Center

        Commencing no later than 2008, the dedicated and experienced advocates employed by

 the Legal Aid Justice Center (LAJC) have been the principal moving force behind the quest of

 the women residing at FCCW to hold the VDOC and its medical-care contractor(s) to their

 obligations under the Eighth Amendment to provide constitutionally-adequate medical care on a

 reliable, consistent basis at the Prison – a quest which, as this Court has aptly noted, sadly

 continues. See ECF Dkt. No. 544 at 51.

        In the Enforcement Phase of this litigation, LAJC attorneys have served as the principal

 on-going contact with the Class Members, and had the main responsibility for building the

 extensive factual record upon which the Plaintiffs’ April 2017 pre-enforcement Notice Letter to

 the Defendants and the Plaintiffs’ subsequent Motion for Order to Show Cause were based,

 through the conduct of hundreds of hours of interviews and procurement and in-depth review of

 thousands of pages of medical and institutional records resulting, inter alia, in the generation of

 the 36 sworn Declarations that were attached as exhibits to Plaintiffs’ Show Cause Motion. See


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 Declaration of Abigail Turner (“Turner Decl.”), dated June 9, 2019, ¶¶ 19-20 at 5-6 true and

 correct copy attached hereto as Exhibit A); Declaration of Shannon Ellis (“Ellis Decl.”), dated

 June 12, 2019, ¶ 17 at 6-7 (true and correct copy attached as Exhibit B); Declaration of Adeola

 Ogunkeyede (“Ogunkeyede Decl.”), dated June 11, 2019, ¶¶ 9-10 at 2-3 (true and correct copy

 attached as Exhibit C).

        Once the briefing of the Show Cause Motion, to which LAJC attorneys significantly

 contributed, was completed, the LAJC had principal responsibility for crafting and propounding

 the written discovery that the Plaintiffs sought from the Defendants regarding Enforcement

 Phase issues, and in reviewing and analyzing the Defendants’ written discovery responses and

 the extensive volume of documents the Defendants produced in response to Plaintiffs’ inquiries.

 Ellis Decl., ¶ 23 at 8; see also Declaration of Theodore A. Howard (“Howard Decl.”), dated June

 12, 2019, ¶ 14 at 7 (true and correct copy attached as Exhibit D). Members of the LAJC team

 likewise expended numerous hours preparing for and conducting the depositions of the majority

 of FCCW and VDOC witnesses concerning the policies and practices implicated in the medical

 care issues serving as the basis for the Plaintiffs’ claims. Turner Decl., ¶¶ 24-25 at 7-8; Ellis

 Decl., ¶¶ 18, 20-22 at 7-8; Ogunkeyede Decl., ¶13 at 3-4; Declaration of Angela Ciolfi (“Ciolfi

 Decl.”), dated June 12, 2019, ¶¶ 45, 47 at 13-14 (true and correct copy attached as Exhibit E);

 Declaration of Brenda Castañeda (“Castañeda Decl.”), dated June 12, 2019, ¶¶ 14-16 at 5-6 (true

 and correct copy attached as Exhibit F).

        LAJC attorneys were integral participants in and contributors to the development of the

 Plaintiffs’ trial strategy and themes, and they took the lead in identifying, selecting and preparing

 Plaintiffs’ fact witnesses for their testimony at trial. Ellis Decl., ¶ 27 at 9-10; Ogunkeyede Decl.,

 ¶ 12 at 3; Ciolfi Decl., ¶¶ 43-47 at 11-14; Castañeda Decl., ¶¶ 11-12 at 4-5. The LAJC worked




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 extensively with Plaintiffs’ expert witness, Jackie Clark-Weissman, R.N., on her initial and

 rebuttal Reports, prepared Ms. Clark-Weisman for her deposition and defended the deposition,

 and presented her trial testimony. Ellis Decl., ¶ 24 at 9; Castañeda Decl., ¶¶ 13, 17 at 5-6. They

 also assumed principal responsibility for analyzing the Reports submitted by the Defendants’

 proffered expert witnesses and deposing those witnesses. Turner Decl., ¶ 24 at 7; Ellis Decl., ¶¶

 20, 22 at 7-8; Castañeda Decl., ¶ 14 at 5.

        LAJC attorneys were fully and actively engaged in assisting with the briefing and

 argument of a host of discovery-related and procedural motions contested by the Parties;

 participated in the protracted but ultimately unsuccessful Mediation in which the Parties engaged

 shortly before trial; had substantial involvement in the preparation and submission of the

 Plaintiffs’ Pre-Trial Brief and the Plaintiffs’ Motion to Strike the Defendants’ belated Motion for

 Summary Judgment; and were full and active participants in the Pretrial Conference at which

 motions in limine and other pretrial motions were addressed. Ellis Decl., ¶ 26 at 9; Ogunkeyede

 Decl., ¶ 14 at 4; Ciolfi Decl., ¶¶ 46-47 at 13-14; Castañeda Del., ¶ 12 at 4-5. LAJC attorneys

 assumed crucial roles in presenting the Plaintiffs’ case at trial, including their Opening

 Statement, and contesting the Defendants’ case. Ellis Decl., ¶¶ 28-24 at 10-12; Ogunkeyede

 Decl., ¶ 15 at 5; Ciolfi Decl., ¶ 47 at 14; Castañeda Decl., ¶¶ 14, 17 at 5-6.6 After trial, the LAJC

 took the lead on exhaustively reviewing the record and preparing Plaintiffs’ Proposed Findings

 of Fact and responding to the Defendants’ parallel submission, as well as in the briefing of the

 Parties’ competing Rule 59(e) submissions. See Ciolfi Decl., ¶ 47 at 14; Howard Decl., ¶ 12 at

 5-6.


 6 See also Declaration of Rachel Deane (“Deane Decl.”), dated June 10, 2019 (true and correct
 copy attached as Exhibit G); Declaration of Kimberly Rolla (“Rolla Decl.”), dated June 10, 2019
 (true and correct copy attached as Exhibit H).


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        Meanwhile, concurrently with all of the foregoing Enforcement Phase litigation activities,

 LAJC attorneys maintained continuous interaction with the women at FCCW concerning their

 on-going day-to-day experiences and adverse encounters with the medical care system at the

 Prison, interceded and advocated on the women’s behalf with Dr. Scharff and/or FCCW as

 necessary or appropriate, and participated in meetings with Dr. Scharff during his monitoring

 visits and in analyzing and commenting upon each of his Reports on the Plaintiff’s behalf.

 Turner Decl., ¶ 20 at 6; Ellis Decl., ¶¶ 13-14 at 5; Ogunkeyede Decl., ¶¶ 9-11 at 2-3; Ciolfi

 Decl., ¶¶ 22-23 at 6 & id., ¶ 31 at 8; Deane Decl., ¶ 6 at 2; Rolla Decl., ¶ 10 at 3.

        For all of the activities described, as more fully detailed and documented in the

 Declarations and Time Records submitted herewith, the Plaintiffs seek an award for the LAJC’s

 attorneys’ hours reasonably and necessarily incurred in successfully pursuing Enforcement Phase

 relief for the Plaintiffs, charging the PLRA rate of $220.50 for attorney time, $150.00 for time

 spent by attorneys and others on clerical work, and $110.25 for travel time (see Ciolfi Decl.,

 Exh. 6), as follows:

               TIMEKEEPER                REASONABLE                 RATE                 TOTAL
                                           HOURS
         Mary Bauer                          86.40                 $220.50            $17,397.45
         Brenda Castaneda                   773.10                 $220.50           $164,510.25
         Angela Ciolfi                     1,007.60                $220.50           $218,974.50
         Rachel Deane                       132.70                 $220.50            $27,187.43
         Shannon Ellis                     2,535.40                $220.50           $536,869.87
         Adeola Ogunkeyede                  218.80                 $220.50            $43,909.50
         Kimberly Rolla                     251.60                 $220.50            $52,351.13
         Abigail Turner                     770.30                 $220.50           $165,482.63
         Maggie Yates                       275.50                 $220.50            $53,754.83
         Henry Young                        198.10                 $220.50            $38,675.40

        In addition, although in an exercise of professional judgment the LAJC has determined to

 forego seeking recovery for many hundreds of hours committed to the investigation and

 prosecution of the Enforcement Phase by numerous volunteer attorneys, paralegals, law clerks,


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 law student interns and lay volunteers, it does seek recovery for a portion of the reasonable hours

 incurred by Debra Bremer, John Costello, Calvin Dorsey, Sarah Hour, Collin Hunt, Taylor

 Mitchell, Shivani Patel and Amie Simmons, as explained more fully in the Declaration of

 Shannon Ellis (see id., ¶ 36.a.-h. at 12-15), as follows:

                 TIMEKEEPER                REASONABLE                RATE               TOTAL
                                             HOURS
           Debra Bremer                       411.00                $150.00           $61,650.00
           John Costello                       27.00                $150.00           $ 4,050.00
           Calvin Dorsey                       30.00                $150.00           $ 4,500.00
           Sarah Hour                          30.00                $150.00           $ 4,500.00
           Collin Hunt                         58.50                $150.00           $ 8,775.00
           Taylor Mitchell                    144.00                $150.00           $21,600.00
           Shivani Patel                       69.40                $150.007          $ 9,195.60
           Amie Simmons                       124.90                $150.00           $18,735.00

           In sum, the fees as to which recovery is sought by the Plaintiffs associated with efforts

 undertaken on their behalf by the LAJC total $1,319.112.98 (attorney time) and $133,005.60

 (volunteer time) = $1,452,118.58.

                                  b.     Wiley Rein LLP

           After the entry of the Court’s Findings of Fact and Conclusions of Law and Final

 Judgment Order approving and requiring implementation of the Parties’ Settlement Agreement

 in February 2016, the attorneys comprising Wiley Rein LLP’s litigation team – see ECF Dkt. No.

 227 at 34-38 – dispersed; since that time, and in connection with the Firm’s participation in the

 Enforcement Phase proceedings, only lead partner Theodore Howard has been involved, subject

 to the assistance of certain paralegals and Litigation Support personnel.

           Once it became clear to Plaintiffs’ counsel that FCCW was not meeting its obligations

 under the Settlement Agreement and that compliance was unlikely to be forthcoming without



 7   $110.25 for hours devoted to travel time.


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 further intervention on the part of this Court, Mr. Howard, in collaboration with his co-counsel at

 LAJC, assumed the responsibility to prepare and submit the Plaintiffs’ April 2017 Notice Letter

 to the VDOC setting forth the Plaintiffs’ concerns regarding the on-going insufficiency of the

 medical care at FCCW. Howard Decl., ¶ 12 at 5. Thereafter, when the VDOC categorically

 rejected the premises of the Notice Letter, Mr. Howard took the lead role in drafting the

 Plaintiffs’ Motion for Order to Show Cause and supporting Memorandum, subject to substantial

 input and assistance from LAJC, which developed the factual foundation for these submissions.

 Id. Mr. Howard likewise prepared the Plaintiffs’ Reply Memorandum in response to the

 Defendants’ Opposition to the Show Cause Motion. Id.

        Throughout the course of the Enforcement Phase, Mr. Howard regularly conferred and

 collaborated with co-counsel at LAJC on the coordination of strategy with respect to all aspects

 of the case in order to maximize efficiency and avoid duplication of efforts to the greatest extent

 reasonably achievable. This included participation in weekly conference calls and occasional

 multihour in-person meetings at the LAJC’s Charlottesville office to address discovery status and

 strategy, trial themes, allocation of responsibilities concerning motions practice, the nature and

 substance of interactions with the Compliance Monitor, any prospects for a negotiated resolution,

 and the like. Id.

        Once written discovery commenced, Wiley Rein served as the repository for the

 voluminous documents that Defendants provided in response to the Plaintiffs’ document

 requests. Legal Assistants Hannah Lynn and Rachel Williams and Litigation Support Assistant

 Paul Michel devoted substantial hours to management and administration of the Firm’s

 document databases and the coordination of tasks to assist Plaintiffs’ counsel in responding to




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 the Defendants’ written discovery and Mr. Howard and LAJC attorneys in preparing for

 depositions of Defendants’ witnesses. Id., ¶ 14 at 7.

        Mr. Howard took on principal responsibility for one of the Defendants’ key witnesses –

 Stephen Herrick, Ph.D., the VDOC’s Health Services Director. Mr. Howard prepared for and

 conducted Dr. Herrick’s deposition over a total of three sessions pursuant to Rules 30(b)(1) and

 30(b)(6), Fed. R. Civ. P., and conducted Dr. Herrick’s cross-examination at trial. Id., ¶ 12 at 5-6.

        Mr. Howard also took on a lead role in interaction with Defendants’ counsel concerning

 various discovery and scheduling issues as they arose, authoring meet-and-confer letters and

 participating in telephone conferences with opposing counsel in an effort to reach resolutions of

 various disputes and participating in the preparation, filing and argument of discovery motions

 addressing matters that the Parties were unable to resolve informally. Id. Mr. Howard likewise

 had substantial involvement in the briefing and argument of the various Motions addressed by

 the Court at the Pretrial Conference; was the co-lead representative for the Plaintiffs at

 Mediation; and was the principal draftsman of the Plaintiffs’ Pre-Trial Brief. Id.

        Mr. Howard took the lead in working closely with the Plaintiffs’ correctional medical

 care expert witness, Robert Greifinger, M.D., in the preparation and service of Dr. Greifinger’s

 expert Reports, and he conducted Dr. Greifinger’s direct examination at trial. He also handled

 the cross-examination of one of the Defendants’ experts at trial, Alfred Joshua, M.D., in addition

 to Dr. Herrick; argued for the denial of the Defendants’ Motion for Judgment at the end of the

 Plaintiffs’ case-in-chief; and would have presented the Plaintiffs’ Closing Argument if the Court

 had entertained such arguments. Id.

        Following trial, Mr. Howard had principal responsibility for the preparation of the Post-

 Trial Brief and Proposed Conclusions of Law accompanying the Plaintiffs’ Proposed Findings of




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 Fact prepared by the LAJC, as well as the Plaintiffs’ Response to the Defendants’ post-trial

 submissions. Id. An additional Legal Assistant, Elizabeth White, assisted with the coordination

 and filing of Plaintiffs’ post-trial submissions. Id., ¶ 14 at 7.

         Finally, outside the scope of the litigation, Mr. Howard handled the responsibility of

 aggregating, synthesizing and presenting, in writing, the Plaintiffs’ comments on each draft

 Monitoring Report provided by Dr. Scharff to the Parties for their review prior to issuance in

 final form pursuant to Section IV.2.C. of the Settlement Agreement and on several occasions, he

 participated in telephone conferences with Dr. Scharff to clarify or elaborate on those comments.

 Id., ¶ 12 at 6.

         Based upon all of the Implementation Phase activities described, the Plaintiffs seek

 recovery of fees attributable to Wiley Rein’s work as follows:

                   TIMEKEEPER             REASONABLE                 RATE             TOTAL
                                            HOURS
          Theodore Howard                    993.00                  $220.50        $218,956.50
          Hannah Lynn                        285.00                  $150.00         $42,750.00
          Rachel Williams                    118.00                  $150.00         $17,700.00
          Elizabeth White                     49.25                  $150.00          $7,387.50
          Paul Michel                        386.25                  $150.00         $57,937.50

         In sum, Plaintiffs seek recovery of $344,731.50 in fees based on the work of Wiley Rein

 LLP.

                                 c.      Kelly & Crandall, PLC

         As described in detail in the Declaration of Angele Ciolfi, Plaintiffs’ lead trial counsel at

 the LAJC, there came a point in time in the months before the Enforcement Phase trial at which

 it seemed that the Defendants, as a matter of conscious strategy, sought to overwhelm Plaintiffs’

 counsel by the sheer volume of filings made by the Defendants concerning discovery and

 scheduling-related matters. See generally Ciolfi Decl., ¶¶ 32-42 at 8-11. In order to cope with




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 this barrage of filings while attempting to stay on track with respect to trial preparation, the

 LAJC enlisted the assistance of two additional law firms with which it had previously

 collaborated on prior unrelated matters – Kelly & Crandall, PLC of Fairfax, VA and Consumer

 Litigation Associates, P.C. of Newport News, VA.

        Two attorneys at Kelly & Crandall – Kristi Kelly, a senior litigation partner and Casey

 Nash, a senior litigation associate – and two of the Firm’s experienced paralegals – Julie

 Fitzgerald and Jennifer Doughton – were involved in providing assistance to the Plaintiffs’

 litigation team by reviewing Defendants’ document productions; drafting and serving follow-up

 discovery requests and reviewing Defendants’ responses thereto; drafting Plaintiffs’ discovery

 motions and responding to Defendants’ discovery and procedural motions; participating in

 telephone conferences with co-counsel regarding strategy and with Defendants’ counsel to

 confer with respect to matters in dispute; and participating in oral argument of such motions

 during the Parties’ several telephonic hearings before Magistrate Judge Hoppe. See Declaration

 of Kristi C. Kelly (“Kelly Decl.”), dated June 12, 2019, ¶¶ 11-12, 19 at 4-6 (true and correct

 copy attached as Exhibit I).

        Based on the activities described, the Plaintiff seek recovery of fees attributable to the

 work of Kelly & Crandall, PLC, as follows:

               TIMEKEEPER                REASONABLE                 RATE               TOTAL
                                           HOURS
         Kristi C. Kelly                     3.40                  $220.50            $749.70
         Casey Nash                         154.40                 $220.50           $34,045.20
         Julie Fitzgerald                    1.30                  $150.00            $195.00
         Jennifer Doughton                   2.00                  $150.00            $300.00

        In sum, Plaintiffs seek recovery of $35,289.90 based on the work of Kelly & Crandall,

 PLC.




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                                d.      Consumer Litigation Associates, P.C.

        Like Kelly & Crandell, Consumer Litigation Associates, P.C. (CLA) did not come into

 the case until the latter stages of the discovery process, in order to provide assistance to the

 Plaintiffs’ established litigation team in addressing a host of then-pending discovery and

 scheduling issues in dispute between the Plaintiffs and the Defendants.

        Three CLA attorneys – founding partner and principal Leonard Bennett, and experienced

 colleagues Craig Marchiando and Elizabeth Hanes – all experienced consumer protection

 litigators, participated in the case. In addition to providing substantial assistance with reviewing

 Defendants’ discovery documents, aiding in the drafting and serviced follow-up discovery

 requests to Defendants and reviewing the sufficiency and substance of Defendants’ responses,

 drafting and responding to discovery-related motions and preparing for and participating in the

 argument of those motions in telephonic hearings before Magistrate Judge Hoppe, the CLA

 attorneys also participated in the depositions of several of the Defendants’ proffered expert

 witnesses and prepared Daubert motions to exclude certain of those experts and other motions in

 limine. In addition, Mr. Bennett was a moving force in encouraging both sides’ representatives

 to explore possible resolution of their differences through mediation, engaged and retained an

 experienced and highly-respected mediator, and actively participated in a significant portion of

 the lengthy mediation session in which the Parties engaged on May 16, 2018. See Declaration of

 Leonard A. Bennett (“Bennett Decl.”), dated Jan. 4, 2019, ¶¶ 19-21 at 7-8 (true and correct copy

 attached as Exhibit J).

        Based on the activities described, the Plaintiffs seek recovery of fees attributable to

 CLA’s work as follows:




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              TIMEKEEPER                 REASONABLE                RATE                TOTAL
                                           HOURS
         Leonard Bennett                    71.60                 $220.50             $15,787.80
         Craig Marchiando                   52.00                 $220.50             $11,466.00
         Elizabeth Hanes                    96.30                 $220.50             $21,234.15

        In sum, Plaintiff seek recovery of $48,487.95 in fees based on the work of CLA.

                C.      THE LODESTAR AMOUNT OF $1,879,627.93 IS REASONABLE
                        AND SHOULD NOT BE SUBJECT TO ANY DOWNWARD
                        ADJUSTMENT

        The combined lodestar amount of fees incurred by the LAJC, Wiley Rein, Kelly &

 Crandall and Consumer Litigation Associates collectively in litigating the Enforcement Phase of

 this case to a successful resolution on behalf of the Plaintiffs is $1,879,627.93.

        “The Supreme Court has indulged a ‘strong presumption’ that the lodestar number

 represents a reasonable attorney’s fee.” McAfee, 738 F.3d at 88-89; see generally Perdue, 559

 U.S. at 552 (“the presumption is a ‘strong’ one” (citations admitted); Lefemine, 758 F.3d at 559

 n.4 (“‘[A] proper computation of the lodestar fee will, in the great majority of cases, constitute

 the “reasonable fee” contemplated by [Section] 1988’” (quoting Daly v. Hill, 790 F.2d 1071,

 1078 (4th Cir. 1986)). Moreover, “the extent of a plaintiff’s success is a crucial factor in

 determining the proper amount of an award of attorney’s fees under 42 U.S.C. § 1988.” Hensley,

 461 U.S. at 440; accord In re Abrams & Abrams, P.A., 605 F.3d 238, 247 (4th Cir. 2010); Doe v.

 Chao, 435 F.3d 492, 506 (4th Cir. 2006). Thus, “‘[w]here a plaintiff has obtained excellent

 results, [her] attorney should receive a fully compensatory fee.’” McAfee, 906 F. Supp. 2d at

 502, quoting Hensley, 461 U.S. at 435.

        Here, recovery of a “fully compensatory fee” by Plaintiffs’ counsel is simply not possible

 due to the statutory cap on hourly rates imposed by the PLRA. There is, however, no basis for

 questioning the “excellent results” that were achieved on behalf of the Plaintiffs in the

 Enforcement Phase of this case, despite the many obstacles placed in the path to a successful


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 outcome by the Defendants. Although, for technical reasons related to strict construction of the

 provisions of Rule 65(d)(1)(C), Fed. R. Civ. P., for which the Defendants never even argued

 until after trial, the Court was prevented from entering a finding of contempt, the Plaintiffs

 nevertheless succeeded in establishing – by a heightened “clear and convincing” standard of

 proof – that the Defendants breached their obligations under the Parties’ Settlement Agreement

 in numerous particulars, causing the Court to conclude, sua sponte, that entry of an immediate

 Injunction Order was necessary and appropriate. This outcome certainly constitutes an excellent

 result under the circumstances, as the Declarations submitted by Professors Spencer and

 Rutherglen submitted in support of the Plaintiffs’ Petition readily attest. 8

        Consideration of the four Johnson factors not already taken into account in calculating

 the lodestar amount – see McAfee, 738 F.3d at 89 – does not give rise to a different conclusion.

        As regards Johnson Factor No. 8, “the amount in controversy and the results obtained,”

 the Plaintiffs did not seek damages, but rather declaratory and injunctive relief in order to bring

 the Defendants, for once and for all, into compliance with obligations under the Settlement

 Agreement that they previously acknowledged were necessary in order to bring about a regime

 of constitutionally-adequate medical care for FCCW. The Court’s post-trial Findings of Fact,

 Conclusions of Law and Injunction Order reflect the degree of Plaintiffs’ success in obtaining the

 relief they sought in the Enforcement Phase.

        Concerning Johnson Factor No. 10, “the undesirability of the case within the legal

 community within which the case arose,” the lack of attractiveness of prisoner litigation in



 8 See Declaration of Prof. A. Benjamin Spencer (“Spencer Decl.”), dated June 7, 2019, ¶¶ 8-10 at
 2-3 (true and correct copy attached as Exhibit K); Declaration of George Rutherglen
 (“Rutherglen Decl.”), dated June 12, 2019, ¶¶ 7-10 at 3-5 (true and correct copy attached as
 Exhibit L).


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 general noted by the Court in Barnard v. Piedmont Reg. Jail Auth., Case No. 3:07CV566, 2009

 WL 3416228, at *4 n.4 (E.D. Va. 2009), is well confirmed by the accounts by Plaintiffs’ counsel

 and their supporting Declarants in the submissions accompanying the Petition. Turner Decl., ¶¶

 28-31 at 8-9; Ellis Decl., ¶¶ 6-16 at 2-6; Ciolfi Decl., ¶¶ 24-26 at 6-7; Castañeda Decl., ¶ 11 at 4;

 see generally Spencer Decl., ¶ 9 at 2; Rutherglen Decl., ¶ 8 at 4. These considerations weigh

 heavily in favor of sustaining an award in the amount of Plaintiffs’ lodestar.

        So too does Johnson Factor No. 11, “the nature and length of the professional

 relationship between the attorney and client,” to the extent that this factor has any bearing here.

 The Plaintiffs’ core group of attorneys have represented the women residing at FCCW tirelessly

 since 2008, without promise of success or remuneration and, even assuming a successful

 outcome, full and fair compensation for their services could not be realized because of the

 PLRA’s cap on hourly rates. The loyal and steadfast representation provided to Plaintiffs by

 their counsel under these circumstances merits recognition in the awarding of the lodestar.

        Finally, concerning Johnson Factor No. 13 – attorneys’ fees awards in similar cases – the

 Plaintiffs’ submit that while the amounts of attorneys’ fees awarded to prevailing claimants in

 prisoners’ conditions cases, including class actions, vary widely in light of the differences in

 nature, scope and duration of the cases, the difficulty of the issues presented, the degree of

 resistance interposed, and the like, the lodestar amount sought by the Plaintiffs here is

 comfortably within the range of awards identified by their research. For example:

       Parsons v. Ryan, Case No. CV-12-0601-PHX-ROS, Order Granting Attorneys’
        Fees (D. Ariz. May 8, 2019) – After district court found defendant Arizona
        Department of Corrections in civil contempt for failure to fulfill obligations it
        assumed under settlement resolving State prisoners’ Eighth Amendment claims
        challenging constitutionally- inadequate medical care, dental care, mental health
        care and other conditions of confinement, court approved award to Plaintiffs of
        attorneys’ fees and costs in the amount of $1,633,121.80.




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       Asher v. Cate, Case No. 09-cv-05796-CW (MEJ), 2018 U.S. Dist. LEXIS 105989
        (N.D. Cal. June 25, 2018) – In connection with negotiated settlement of class
        action brought by inmates housed in solitary confinement at Pelican Bay State
        Prison challenging their conditions of confinement under the Eighth Amendment,
        court approved fee award in the amount of $1,032,419.52.

       Cole v. Collier, Case No. 4-14-cv-1698, 2018 U.S. Dist. LEXIS 97110 (S.D. Tex.
        June 8, 2018) – Following negotiated settlement resolving Eighth Amendment
        claims of prisoners alleging exposure to extreme heat during summer months at
        Wallace Pack Unit of Texas Department of Corrections, court approved award of
        attorneys’ fees and costs totaling $4,500,000.00.

 See also ECF Dkt. No. 227 at 41-42 (referencing fee awards in additional comparable prisoners’

 rights cases). This sampling of results reached with respect to the awarding of fees under

 Section 1988 in analogous actions bears witness to the position that the lodestar amount that

 Plaintiffs seek to recover here is presumptively reasonable and well within the mainstream.

        Moreover, the Defendants should not be heard to complain about the magnitude of the

 Plaintiffs’ lodestar. While Plaintiffs recognize that the award requested is significant, in the

 abstract, it is neither disproportionate to the nature of the relief they achieved in the Enforcement

 Phase nor in any way unfair given the extent of the contumacious conduct in which the

 Defendants engaged throughout this Phase of the proceedings. As is detailed at some length in

 Ms. Ciolfi’s supporting Declaration, the series of groundless procedural motions that the

 Defendants pursued, some of which were unilaterally withdrawn by the Defendants after

 subjecting Plaintiffs’ counsel to the time and trouble of responding thereto, and the remainder of

 which were found to be utterly lacking in merit by Magistrate Judge Hoppe, drastically increased

 the volume of work that was required of the Plaintiffs during the Enforcement Phase. See Ciolfi

 Decl., ¶¶ 34-39, 42 at 9-11; see also Turner Decl., ¶¶ 22-24 at 7. In the same vein, in lieu of the

 Pre-Trial Brief they were entitled to submit under the operative Scheduling Order, Defendants

 instead chose to file a 47-page Motion for Summary Judgment, with 61 attachments, that they

 had every reason to know was untimely and otherwise improper, only two weeks before trial,


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 requiring Plaintiffs’ counsel to prepare and file a response asking that the Motion be stricken,

 which this Court summarily granted. Ciolfi Decl., ¶ 41 at 11. Thus, a substantial portion of the

 hours incurred by the Plaintiffs for which the Defendants are now asked to pay could have been

 wholly avoided but for Defendants’ unprincipled machinations.

         Accordingly, putting to one side the obvious fact that the Enforcement Phase would have

 never been needed had the VDOC, FCCW and its contractor simply honored the obligations they

 undertook pursuant to the Settlement Agreement in the first place, the Defendants have no good-

 faith basis for challenging Plaintiffs’ lodestar as excessive.

 II.     THE PLAINTIFFS’ DOCUMENTED AND REASONABLY-INCURRED
         ENFORCEMENT PHASE LITIGATION COSTS IN THE AMOUNT OF
         $116,624.44 SHOULD BE INCLUDED IN THIS COURT’S AWARD

         “A prevailing plaintiff in a civil rights action is entitled, under [Section] 1988, to recover

 those reasonable out-of-pocket expenses incurred by the attorney which are normally charged to

 a fee-paying client in the course of providing legal services.” Spell v. McDaniel, 852 F.2d 762,

 771 (4th Cir. 1988) (quoting Northross v. Bd. Of Educ. Of Memphis City Schools, 611 F.2d 624,

 639 (6th Cir. 1979); see generally Daly v. Hill, 790 F.2d 1071, 1082-83 (4th Cir. 1986) (citing

 authorities).

         Here, Plaintiffs seek recovery on the basis of substantial litigation expenses that were

 incurred by the LAJC, Wiley Rein, Kelly & Crandall and Consumer Litigation Associates,

 respectively.

         The costs incurred by the LAJC for which recovery is sought totaled $10,156.45. See

 Ciolfi Decl., ¶ 59 at 18-19. Wiley Rein’s Enforcement Phase incurred costs totaled $206,956.34.

 Deducting from that amount the sum of $122,196.22 attributable to payments for the services

 rendered by Plaintiffs’ experts, Dr. Greifinger and Nurse Clark, as to which recovery appears to




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 be precluded under 42 U.S.C. §1988(c),9 a balance of $84,760.12 remains, from which a further

 modest discretionary deduction was made, resulting in a balance of $84,615.64. See Howard

 Decl., ¶ 17 at 8. Kelly & Crandall incurred reimbursable expenses of $79.62, and Consumer

 Litigation Associates incurred costs of $21,772.73 for which recovery is sought. See Kelly

 Decl., ¶ 17 at 6; Bennett Decl., ¶ 22 at 8.

        Based on the foregoing amounts, Plaintiffs seek and request an award of recoverable

 costs in the total amount of $116,624.44

                                            CONCLUSION

        For all of the foregoing reasons, Plaintiffs’ Petition for Award of Enforcement Phase

 Attorneys’ Fees and Costs should be granted.




 9 Because Section 1988, on its face, appears to limit recovery of expert witness fees to only those
 civil rights actions premised upon claims under 42 U.S.C. §1981 and 1981a, the Plaintiffs have
 excluded their expert fees from their recoverage costs. But cf. Cook v. Andrews, 7 F. Supp. 2d
 733, 736-37 (E.D. Va. 1988) (allowing prevailing plaintiff recovery of a portion of expert fees in
 a Section 1983 action).


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 DATED:     June 12, 2019


                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 12th day of June 2019, true and correct copies of the

 foregoing Plaintiffs Memorandum of Law in Support of Plaintiffs’ Petition for Award of

 Enforcement Phase Attorneys’ Fees and Costs were served via the Court’s electronic case filing

 system upon the following:

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